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   VIA ECF

   February 6, 2012

   Honorable A. Kathleen Tomlinson
   United States District Court
   Eastern District of New York
   100 Federal Plaza, P.O. Box 9014
   Central Islip, NY 11722-9014


          Re:    David Assif, Individually, and on Behalf of All Others Similarly
          Situated v. Titleserv Inc. and Settlement Corp.
          Case No. 08 cv 4951


   Dear Honorable Judge Tomlinson:

           Plaintiff writes to provide a status report per the Court’s Order dated January 31,
   2012. Plaintiffs filed this case on July 5, 2011 and served Defendants on July 20, 2011.
   Defendants have not filed an answer. This case was filed as a putative collective action.
   Plaintiffs, therefore, request until March 14, 2012 to file a motion for class certification.
   Plaintiffs will subsequently request a default judgment.



                                                          Sincerely,

                                                          /s/ Erik H. Langeland
                                                          Erik H. Langeland
